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                         Exhibit 4
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                                                   w►




The Tax Appeals Agency
Ved Vesterport 6, 4th floor
1606 Copenhagen V
Denmark




                                                                                          Ref. no.: 63119
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                                                                                   Tel.: + 45 3525 2925
                                                                                        la k0lundarens.dk
                                                                                    Tel.: +45 3525 2942
                                                                                   28 September 2018


Dear Sirs


JAMIE MITCHELL — NEWSONG FELLOWSHIP CHURCH 401(K) PLAN


On behalf of our client, Jamie Mitchell, we hereby appeal against the decision made by the Danish
tax authorities (SKAT) on 17 April 2018 in respect of Newsong Fellowship Church 401(k) Plan
(Newsong).


The following claim is made before the Tax Appeals Agency:


CLAIM


That SKAT's decision of 17 April 2018 be changed to the effect that SKAT's previous decisions to
refund dividend tax remain standing.


PROCEDURAL ISSUES


The nature of this Notice of Appeal is only preliminary since SKAT did not inform us until 19
September 2018 that SKAT had made a final decision on 17 April 2018 in respect of Newsong to
cancel a number of previous decisions approving the Appellant's applications for dividend tax
refunds.




 LUNDGRENS ADAOKATP-ARTNERSELSKAE                                             VAT NO. OK 36 44 20 42
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SUBMISSIONS


As stated above, SKAT made a decision in respect of Newsong on 17 April 2018. In addition to the
issue concerning the substantive correctness of the decision, which is dealt with in section (A), this
Appeal gives rise to two preliminary issues of a procedural nature: the issue concerning the timely
filing of the Appeal (dealt with in section (B)) and the issue concerning the Appellant's legal interest
in filing an appeal against a decision made in respect of Newsong (dealt with in section (C)).


(A) The issue concerning the substantive correctness of the decision


Reference is made in general to the statement of claim and the submissions made in the Notice of
Appeal concerning Newsong.


(B) The issue concerning the timely filing of the Appeal


Reference is made in general to the statement of claim and the submissions made in the Notice of
Appeal concerning Newsong.


Furthermore, it is submitted that, in this case, the Appellant is also a client of KL Gates and that the
Appellant would have been able to file this Appeal in time if the tax authorities had informed KL
Gates on 10 April that a preliminary decision concerning Newsong had already been made at that
time (namely on 23 March 2018).


(C) The issue concerning legal interest


The Appellant was both a beneficiary and a trustee of Newsong Fellowship Church 401(k) Plan at the
time when the applications for dividend tax refunds were submitted. Moreover, the Appellant was
authorised to sign and act on behalf of Newsong. Therefore, the Appellant has been sued in the USA
as a result of his role in Newsong. The reason for the lawsuit against Newsong and the Appellant is
that, according to the Plaintiff (the Danish tax authorities), Newsong obtained dividend tax refunds
without being entitled to such refunds (see also the reasoning provided in SKAT's decision concerning
Newsong).


If the Tax Appeals Agency finds that Newsong was entitled to the dividend tax refunds received,
there will be no basis for a lawsuit against the Appellant in the USA.




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SKAT's decision concerning Newsong - and the Danish National Tax Tribunal's decision in the appeal
- thus have a direct bearing on the Appellant's legal position.


The Appellant thus has a material direct legal interest in the outcome of the appeal. As a result, the
Appellant is entitled to appeal under section 35a(2) of the Danish Tax Administration Act
(skatteforvaltningslo ven) .


                                             **********

We hereby request that a meeting be held prior to the preparation of a statement of claim.
Furthermore, we kindly request that this Appeal be heard by the Danish National Tax Tribunal.


We reserve the right to a court hearing. The fee of DKK 400 has been transferred today to the Tax
Appeals Agency, reg. no. 0216, account no. 4069029361, with reference to the Appellant's name
and BlanketlD.


Yours sincerely
Lundgrens Advokatpartnerselskab



     a
Nicol i B. Sorensen                          Jakob Schilder-Knudsen
Attorney (right of audience before           Attorney, Partner
the Danish Supreme Court), Partner




  LPNDGREN5 ADVOKATPARTNERSELSZt4$                                              VAT NO_ DK. 36 44 20 42
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I, the undersigned Karin Winge Bang, hereby certify the preceding English text to be a true and faithful
translation of the attached text in the Danish language:



                                            Notice of Appeal

                                      on behalf of Jamie Mitchell

                                         (concerning Newsong)




Witness my hand and stamp

                                        Farum, 1 October 2018


                                              jt4 W1NGE 8
                                                         '




                                           Karin Winge Bang

                            Translator and interpreter (Danish nd Englis
              MA in Translation and Interpreting (English) and Bachelor f Laws (LL.B.)
     Mobile phone +45 53 63 35 20 • Email karin@wnge-bang.dk • Website www.winge-bang.dk
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                                                                                              Tlf.: 35252942
                                                                                    28. september 2018




JAMIE MITCHELL - NEWSONG FELLOWSHIP CHURCH 401(K) PLAN


Pa vegne vores klient, Jamie Mitchell, skal vi hermed paklage den af SKAT afsagte kendelse af 17.
april 2018 for Newsong Fellowship Church 401(k) Plan (Newsong)


For Skatteankestyrelsen nedlaegges folgende


PASTAN D


SKAT's afgorelse af 17. april 2018 aendres, saledes at SKAT's tidligere afgorelser om refusion af
udbytteskatter til klager stadfaestes.


PROCESSUELLE FORHOLD


Naervaerende klage er alene af forelobig karakter, idet vi forst 19. september 2018 af SKAT fik oplyst,
at SKAT den 17. april 2018 traf endelig afgorelse vedrorende Newsong, i hvilken SKAT tilbagekalder
en raekke tidligere afgorelser, ved hvilke SKAT har godkendt Newsong's tilbagesogning af indeholdte
kildeskatter.




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ANBRINGENDER


Som det fremgar ovenfor, traf SKAT's afgorelse vedrerende Newsong den 17. april 2018. Udover
spergsmalet om afgerelsens materielle rigtighed, hvilket behandles under pkt. A, rejser naervaerende
klage to indledende spergsmal af processuel karakter, dels spergsmalet om klagens rettidighed (be-
handles under pkt. B) og dels spergsmalet om klagers retlige interesse i at klage over en afgorelse
vedrerende Newsong (behandles under pkt. C).


A)       Vedrerende sp rgsmalet om afgyrelsens materielle rigtighed


Der henvises i det hele til den sagsfremstilling og de anbringender, der er gjort gaeldende i klagen
vedrerende Newsong.


B)       Vedrerende sps rgsmalet om klagens rettidighed


Der henvises i det hele til den sagsfremstilling og de anbringender, der er gjort gaeldende i klagen
vedrerende Newsong.


Det gores i forlaengelse heraf gaeldende, at klager i naervaerende sag ligeledes er klient hos KL Gates,
og at klager i naervaerende sag ville have kunnet indbringe naervaerende klage rettidigt, safremt
skattemyndighederne til KL Gates den 10. april havde oplyst, at man allerede pa davaerende tids-
punkt (naermere bestemt 23. marts 2018) havde udstedt forslag til afgorelse vedrerende Newsong.


C)       Vedrerende spy rgsmalet om retlig interesse


Klager var bade beneficiary og trustee i Newsong Fellowship Church 401(k) Plan pa tidspunktet for
tilbagesogningerne af indeholdt kildeskat. Yderligere var klager befuldmaegtiget til at underskrive og
disponere pa vegne af Newsong. Som folge af disse forhold er klager blevet sagsogt i USA som folge
af hans rolle i Newsong. Baggrunden for segsmalet mod Newsong og klager er, at Newsong ifolge
sagseger (de danske skattemyndigheder) skulle have opnaet uretmaessige tilbagesogninger pa in-
deholdt kildeskat (jf. i ovrigt begrundelsen i SKAT's afgorelse vedrerende Newsong).


Safremt det i en klagesag ved Skatteankestyrelsen skulle blive statueret, at de tilbagesegninger,
Newsong har faet af indeholdte kildeskatter, har vaeret retmaessige, vil der ikke vaere grundlag for
et segsmal i USA mod klager.




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                                     LUNDGRENS




SKAT's afgorelse mod Newsong - og Landsskatterettens afgorelse af kiagen over denne afgorelse -
har saiedes direkte indflydelse pa klagers retlige position.


Wager har derfor en vaesentlig direkte retlig interesse i, hvorledes klagesagen falder ud. Kiager er
saiedes klageberettiget i medfor af SKFVL § 35a stk. 2.


                                             **********


Vi skal venligst anmode om kontorforhandling, forinden der udarbejdes sagsfremstilling i sagen.
Yderligere skal vi venligst anmode om, at naervaerende klage behandles af Landsskatteretten.


Adgang til retsmode forbeholdes. Klagegebyr stort kr. 400 er dags dato overfort til Skatteankesty-
relsens konto reg. nr . 0216, konto nr. 4069029361 med henvisning til Klagers navn og BlanketlD.


Med venlig hilsen
Lundgrens Advokatpartnerselskab




Nicolai B. Sorensen                            akob Schilder-Knudsen
Advokat (H), Partner                          Advokat, Partner




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